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FORM 104(10/06)
         ADVERSARY PROCEEDING COVER SHEET                                                                   ADVERSARY PROCEEDING NUMBER
                (Instructions on Reverse)                                                                   (Court Use Only)

PLAINTIFFS                                                                           DEFENDANTS




ATTORNEYS (Firm Name, Address, and Telephone No.)                                    ATTORNEYS (If Known)
 GARY M. BOWMAN, 2728 COLONIAL AVE..STE. IOO.RQANOKE VA 24015
 TEL: (540) 343-1173

PARTY (Check One Box Only)                                                           PARTY (Check One Box Only)
    ebtor   LH U.S. Trustee/Bankruptcy Admin                                         CUDebtor   Q U.S. Trustee/Bankruptcy Admin
    reditor [x] Other                                                                [^Creditor D Other
LjTrustee                                                                            I—[Trustee
[CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL u.s. STATUTES INVOLVED)

 CLAIM FOR POSSESSION OF PROPER!Y/UNLAWFUL DETAINER/COUNTER-CLAIM FOR UNLAWFUL FORECLOSURE


                                                                         NATURE OF SUIT
                 (Number up to five (5) boxes starting with lead cause of action as I, first alternative cause as 2, second alternative cause as 3, etc.)

FRBP 7001(1) - Recovery of Money/Property                                             RBP 7001(6) - Dischargeabilily (continued)
  ~l 11-Recovery of money/property - §542 turnover of property
                                                                                          | 61-Dischargeability - §523(a)(5), domestic support
    12-Recovery of money/property - §547 preference                                        68-Dischargeability - §523(aK6), willful and malicious injury

 X I 13-Recovery of money/property - §548 fraudulent transfer                        |    ) 63-Dischargeability - §523(aX8), student loan
     14-Recovery of money/property - other VV.                               _             64-Dischargeability - §523(aXI 5), divorce or separation obligation (other
                                                                                            than domestic support)
FRBP 7001(2) - VRlidity, Priority or Extent of Lien                              *
                                                                                           65-Dischargeability - other
    21 -Validity, priority or extent of lien or other interest in property
                                                                                     FRBP 7001(7) - Injunclive Relief
FRBP 7001(3) - Approval of Sale of Property
                                                                                            71-Injunctive relief- reinstalement of stay
    3l-Approval of sale of property of estate and of a co-owner - §363(h)
                                                                                            72-Injunctive relief- other
FRBP 7001(4) - Objection/Revocation of Discharge
                                                                                     FRBP 7001(8) Subordination of Claim or Interest
   1 41 -Objection/ revocation of discharge- §727(c),(d),(e)                                81-Subordination of claim or interest
FRBP 7001(5) - Revocation of Confirmation                                            FRBP 7001(9) Declaratory Judgment
     51-Revocation of confirmation
                                                                                     I j 91-Declaratory judgment
FRBP 7001(6) - Dischargeability                                                      FRBP 7001(10) Determination of Removed Action

   J66-Dischargeability - §523(a)(l),(14),(14A) priority tax claims                  | | 01-Determination of removed claim or cause
                                                                                     Dther
-|62-Dischargeability - f)523(a)(2), false pretenses, false representation,
_ 1          actual fraud                                                             I   | SS-SlPACasc- 15 U.S.C. §§78aaa el.seq.

D   67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny
                     (continued next column)
                                                                                      Iv I 02-Other (e.g. other actions Ihat would have been brought in state court if
                                                                                           unrelated to bankruptcy easel                                         ___
 \X\k if this case involves a substantive issue of state law                          I   ] Check if this is asserted to be a class action under FRCP 23

I I Check if ajury trial is demanded in complaint                                    Demand $
Other Relief Sought




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FORM 104 (10/06), Page 2

                       BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES

NAME OF DEBTOR                                                                  BANKRUPTCY CASE NO.
                                                                                   11-
DISTRICT IN WHICH CASE IS PENDING                  DIVISIONAL OFFICE               NAME OF JUDGE

                                   RELATED ADVERSARY PROCEEDING (IF ANY)

PLAINTIFF                            DEFENDANT                            ADVERSARY PROCEEDING NO.

DISTRICT IN WHICH ADVERSARY IS PENDING             DIVISIONAL OFFICE                 NAME OF JUDGE


SIGNATURE OF ATTORNEY (OR PLAINTIFF)


                                              k-r^

DATE                                 PRINT NAME OF ATTORNEY (OR PLAINTIFF)
     1 1 APRIL 20! 1                   GARY M. BOWMAN, ATTORNEY AT LAW, VSB 28866

                                                                                                               Print Form
                                                    INSTRUCTIONS

         The filing of a bankruptcy case creates an "estate" under the jurisdiction of the bankruptcy court which consists of
all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and
the jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also
may be lawsuits concerning the debtor's discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
proceeding.

          A party filing an adversary proceeding must also complete and file Form 104, the Adversary Proceeding Cover
Sheet, if it is required by the court. In some courts, the cover sheet is not required when the adversary proceeding
is filed electronically through the court's Case Management/Electronic Case Files (CM/ECF) system. (CM/ECF captures
the information on Form 104 as part of the filing process.) When completed, the cover sheet summarizes basic
information on the adversary proceeding. The clerk of court needs the information to process the adversary proceeding
and prepare required statistical reports on court activity.

         The cover sheet and the information contained on it do not replace or supplement the filing and service of
pleadings or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is
largely self-explanatory, must be completed by the plaintiffs attorney (or by the plaintiff if the plaintiff is not represented
by an attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

Plaintiffs and Defendants. Give the names of the plaintiffs and the defendants exactly as they appear on the complaint.

Attorneys. Give the names and addresses of the attorneys, if known.

Party. Check the most appropriate box in the first column for the plaintiffs and in the second column for the
defendants.

Demand. Enter the dollar amount being demanded in the complaint.

Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
plaintiff is represented by a law firm, a member of the firm must sign, if the plaintiff is pro se, that is, not represented by
an attorney, the plaintiff must sign.
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                    UNITED STATES BANKRUPTCY COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                              Lynchburg Division


     In re:                                    Chapter 11
     KAREN FOSTER,                             Case No. 12-60619
                Debtor.



     KAREN FOSTER,
                Movant,
     v.                                       A.P. No

     JOHN WYNNE,
                Debtor.



                              VERIFIED COMPLAINT

     COMES NOW Karen Foster, the debtor-in-possession, by
counsel, who hereby moves this Court to: (1) declare that the
Note dated August 23, 2006 (attached to this Complaint as Exhibit
A) is void; and (2) declare as void, ar alternatively to avoid,
the Trustee's Deed dated September 25, 2008, which conveyed to
the defendant John Wynne title in the debtor-in-possession's real
property at 2232 Ridgewood Drive, Lynchburg, Virginia.
                                 JURISDICTION
1.   The debtor commenced this bankruptcy case by filing on March
15, 2012 a petition under Chapter 11 of the Bankruptcy Code.
2.   This Court has jurisdiction over this proceeding pursuant to

                                        1
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28 U.S.C. § 1334.

3.      Count II is a core claim pursuant to 28 U.S.C. §
157(b)(2)(H) to avoid a fraudulent conveyance.
4.      This Court has jurisdiction over Count I pursuant to 28
U.S.C. § 2201.
                                 THE PARTIES

5.      The defendant John Wynne is a citizen of Bedford County,
Virginia.
                             STATEMENT OF FACTS

6.      The defendant Wynne has in his possession a Note, dated
August 23, 2006, which he claims evidences a loan made by him to
Foster on August 23, 2006 in the amount of $40,000.00.               The Note
was secured by a Deed of Trust on Ms. Foster's real property
("the property") at 2232 Ridgewood Drive, Lynchburg, Virginia.
7.      Wynne did not loan any money to Mr. Foster on August 23,
2006.
8.      On September 25, 2008, attorney Peter Sackett, acting as
Trustee under the Deed of Trust, conducted a foreclosure sale of
the property.     Wynne "bid in" the property for the amount of his
claimed debt of $40,000.00.        On October 16, 2008, Sackett
recorded a Trustee's Deed conveying the property to Wynne, even
though he paid no actual consideration for the property.
9.    According to Wynne, who listed the property as collateral in
the December 31, 2009 financial statement that he submitted to
Old Dominion National Bank, the property is worth $200,000.00.
10.     Karen Foster was insolvent at all times relevant to this
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complaint.      She filed Chapter 7 Bankruptcy Petition 07-61731 in
this Court on September 14, 2007 due to her financial insolvency
and she obtained a discharge of her debts.
                                 CLAIM FOR RELIEF

                                 COUNT ONE
            (SEEKING DECLARATORY JUDGMENT THAT THE AUGUST 23.
                            2006 NOTE IS VOID)

11.   The allegations of paragraph 1-10 are adopted herein.
12.   The August 23, 2006 note was supported by no consideration.
13.   The validity of the August 23, 2006 note is an actual case
or controversy because Ms. Foster contends that the Note is void,
but defendant Wynne claims that the Note is enforceable.
14.   The Note is invalid under Virginia contract law.
      (a)    The Note was not a bargained-for exchange.
              (1) A contract that is not supported by consideration
is not a true bargain and is void.             Although a "peppercorn" may
be adequate consideration under Virginia law if actually
bargained, no consideration is a sign that the contract was not
based on an actual bargain.
              (2)    The utter lack of consideration here was not
actually bargained-for.           On the morning of August 23, 2006, Ms.
Foster was released from jail.             She was broke.      She immediately
went to see Wynne, her boyfriend, because he was her boyfriend
and she wanted to see him and because he owed her $100.00 for
feeding his horses.          Wynne was himself incarcerated at the time
and was allowed to go to work each day on work release, so he had
not been allowed to see Ms. Foster while she was in jail.
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According to Wynne, Ms. Foster signed, during that visit, a Note
and Deed of Trust, promising to pay him $40,000.00.              According to
Wynne's version of the facts, he had apparently prepared the
papers while Ms. Foster was in jail, and she had not seen or
discussed the Note and Deed of Trust with him prior to that
morning.
           (3)    The contract was not a bargained-for exchange,
which is evidenced by the lack of consideration for Wynne's
windfall. See Restatement (Second) of Contracts § 71(1} (1981) ("To
constitute consideration, a performance or a return promise must
be bargained for").       Thus, the Note was void ab initio and the
foreclosure, which was merely an action to enforce the void
contract, is also void.
     (b)   The Note recited false consideration.
           (1)    Although a peppercorn or "tomtit" may be adequate
consideration, the consideration for the contract must be
correctly stated in the contract.          The consideration may not be
falsely stated or be a sham.         Restatement (Second) of Contracts §
79(1981), comment d.       Sham consideration may not support a valid
contract. Id.
           (2)    Here, the contract stated that Ms. Foster promised
to pay Wynne $40,000.00 in exchange "For Value Received."                The
value she received was not the stated $40,000 . 00 ; instead she
received nothing.
           (3}    The Note was void because it contained a false
recital of consideration.        The Note was void ab initio and the
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foreclosure, which was merely an action to enforce the void
contract, is also void.
      WHEREFORE the plaintiff prays that this Court will declare,
pursuant to 28 U.S.C. 2201 that the Note was void ab initio.
                                  COUNT TWO
            (SEEKING AVOIDANCE, AS FRAUDULENT CONVEYANCES,
              THE SEPTEMBER 25. 2008 FORECLOSURE AND THE
                   OCTOBER 16. 2008 TRUSTEE'S DEED)

15.   The allegations of paragraph 1-10 are adopted herein.
16.   Peter Sackett, the trustee acting under the August 23, 2006
Deed of Trust, fraudulently conveyed Ms. Foster's property at
2232 Ridgewood Drive to Wynne in violation of Va.Code § 55-80 and
Va. Code § 55-81.
17.   The Trustee's Deed was a void transfer pursuant to Va.Code §
55-80.
      (a)   The Trustee's Deed was a transfer from Sackett to Wynne
of an interest in property; and
      (b)   The transfer was made with the intent by Wynne (who
falsely told Sackett that he was owed $40,000.00 by Foster) to
delay, hinder or defraud creditors or other persons, specifically
Ms. Foster, of property to which Foster was lawfully entitled.
18.   The Trustee's Deed was a void transfer pursuant to Va.Code §
55-81.
      (a)   The Trustee's Deed was a transfer from Sackett to Wynne
of an interest in Ms. Foster's property; and
      (b)   Ms. Foster was insolvent at the time of the transfer;
      (c)   The consideration for the transfer of the Trustee's
Deed ($0.00) was not of equal value to the property obtained by
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Wynne in the transfer ($40,000.00).
19.   The Trustee's Deed is void, or alternatively is voidable,
pursuant to 11 U.S.C. § 548(a)(1).
          (a)   Virginia law requires that a foreclosure sale is void1
if the sale is for a price so inadequate "that it shocks the
conscience of the chancellor."2               Here, Wynne "bid in" the
property for the amount of his debt, which was $0.00.                     The
property was worth $203,000.00.                  Wynne paid a price equal to 0%
of the value of the property.               The price of this sale was so
inadequate as to have been merely a sham price.                   The sale price
here was plainly inadequate; the only way to conclude that the
sale price was not "so inadequate" "that it shocks the conscience
of the chancellor" is to conclude that the rule of unconscion-
ability is not valid but is itself a sham.
          (b)   The foreclosure sale by Sackett was voidable pursuant
to 11 U.S.C. § 548(a)(1).
                (1)     The transfer was a transfer of an interest in Ms.
Foster's property;
                (2)     The transfer was made within two years of the
filing of the petition in this case;
                (3)     The transfer was made for less than a reasonably
equivalent value, as defined by Virginia law;

     1  Linney v. Normoyle. 145 Va. 589, 592, 134 S.E. 554, 554
(1926) ("the conveyance" "was voidable in a court of equity, and
would have been decreed void at the prayer of M. F. Normoyle, the
complainant," but Normoyle did not ask that the sale be decreed
void).
      2     Id. at 595, 134 S.E. at 555.
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             (4)    Ms. Foster was insolvent at the time the transfer

was made.
     WHEREFORE Ms. Foster prays that this Court will declare as
void, or alternatively avoid, the September 25, 2008 Foreclosure
Sale and the October 16, 2008 Trustee's Deed as fraudulent

conveyances.
                                              Respectfully Submitted,
                                              KAREN FOSTER

                                              •^y •
Gary M. Bowman, Esq.
VSB No. 28866
2728 Colonial Ave., Ste. 100
Roanoke, Virginia 24015
Tel: (540) 343-1173
Fax: (540) 343-1157
                                   VERIFICATION

     I have read the foregoing and affirm that the facts recited
herein are true and correct to the best of my knowledge and
belief.     I affirm that I have carefully reviewed each and every
paragraph of the foregoing, that I have initialed each paragraph
and that I have instructed my attorney to file this based upon
this verification that the facts contained herein are accurate.

                                       Karen M. Foster

                                       Date
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      was made .

             WHEREFORE Ms. Foster prays nhat this Court will declare as

      void, or alternatively avoid, the September 25, 2008 Foreclosure
      Sale and the October 16, 2008 Trustee's Deed as fraudulent
      conveyances .

                                                    Respectfully Submitted,
                                                    KAREN POSTER
                                                    By:                      ____

      Gary M. Bowman, Esq.
      VSB NO. 28866
      2728 Colonial Ave., Ste. 100
      Roanoke, Virginia 24015
      Tel:   (540) 343-1173
      Fax:   (540) 343-1157

                                        VERIFICATION

             I have read the foregoing and affirm that the facts recited

      herein are true and correct to the best of my knowledge and

      belief.        1 affirm that I have carefully reviewed each and every
      paragraph of the foregoing-, that I have initialed each paragraph

      and that I have instructed my attorney to file this based upon

      this verification that the facts contained herein are accurate.


                                             Karen M. Foster

                                            _
                                            Date
